Case 4:11-cr-00089-MSD-DEM Docume ment 634 Filed 07/12/12 Page 1 of 6 PagelD# 2901

AO 245B (Rev. 12/03)(VAED rev. 2) Sheet | - Judgment in a Criminal

 

UNITED STATES DISTRICT COURT
Eastern District of Virginia
Newport News Division

ILED

 

 

JU 12° 2012

 

 

 

CLERK, US DISTRICT COURT

 

 

UNITED STATES OF AMERICA NORFOLK. VA
Vv. Case Number: 4:11cr89-0012
BRIAN JARVIS USM Number: 63246-019
Defendant's Attorney: Shannon Hadeed
Defendant.

JUDGMENT IN A CRIMINAL CASE
The defendant pleaded guilty to Count | of the Superseding Indictment.

Accordingly, the defendant is adjudged guilty of the following counts involving the indicated offenses.

Title and Section Nature of Offense Offense Class

T. 21, USC Section 846, 841(a)(1),
841(b)(1)(A), and 841(b)(1)(B)

Conspiracy to Distribute Narcotics Felony

Offense Ended Count

January 10, 2012 l

On motion of the United States, the Court has dismissed the remaining counts in the superseding indictment as to

defendant BRIAN JARVIS.

As pronounced on July 9, 2012, the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The

sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material

changes in economic circumstances.

Signed this \acth day of July, 2012.

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Mark S. Davis
United States District Judge
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Sheet 2 - Imprisonment

Case Number: 4:11¢r89-0012
Defendant’s Name: JARVIS, BRIAN

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of ONE HUNDRED AND EIGHTY-EIGHT (188) MONTHS.

The Court makes the following recommendations to the Bureau of Prisons:
1) The defendant shall be incarcerated in a facility as close to the Virginia area as possible.

2) The defendant shall participate in a drug treatment program when and if defendant qualifies.
3) The defendant shall obtain a GED or vocational skill while incarcerated.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

RETURN

I have executed this judgment as follows:

Defendant delivered on to

at , with a certified copy of this Judgment.
UNITED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL
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Sheet 3 — Supervised Release

 

Case Number: 4:11cr89-0012
Defendant’s Name: JARVIS, BRIAN

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS.

The Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions of
supervised release.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
of a controlled substance and submit to one drug test within 15 days commencement on supervised release and at least
two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay
any such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties
sheet of this judgment.

STANDARD CONDITIONS OF SUPERVISION

The defendant shall comply with the standard conditions that have been adopted by this court set forth below:

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
administer any narcotic or other controlled substance or any paraphernalia related to such substances, except as
prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
person convicted of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer for a special agent of a law enforcement
agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.
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Sheet 3A — Supervised Release

 

Case Number: 4:11er89-0012
Defendant’s Name: JARVIS, BRIAN

SPECIAL CONDITIONS OF SUPERVISION

While on supervised release pursuant to this Judgment, the defendant shall also comply with the following additional
special conditions:

1) The defendant shall obtain a General Equivalency Diploma (GED) or vocational skill during his period of
supervision if not employed full-time.

2) The defendant shall pay for the support of his children in the amount ordered by any social service agency or
court of competent jurisdiction. In the absence of any such order, payments are to be made on a schedule to be
determined by the court at the inception of supervision, based on defendant’s financial circumstances,

3) The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
probation officer.

4) The defendant shall provide the probation officer access to any requested financial information.

5) The defendant shall participate in a program approved by the United States Probation Office for substance abuse,
which program may include residential treatment and testing to determine whether the defendant has reverted to
the use of drugs or alcohol, with partial costs to be paid by the defendant, all as directed by the probation officer.
The defendant shall waive all rights of confidentiality regarding substance abuse treatment to allow the release of
information to the probation officer and authorize communication between the probation officer and the treatment
provider.

6) The defendant shall participate in a program approved by the United States Probation Office for mental health
treatment to include anger management and domestic violence classes. The costs of these programs are to be paid
by the defendant as directed by the Probation Officer. The defendant shall waive all rights of confidentiality
regarding mental health treatment to allow the release of information to the probation officer and authorize
communication between the probation officer and the treatment provider.

7) +The defendant shall not have any contact with members of “Thug Relations” or any other gang during his period
of supervised release.
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Sheet 5 — Criminal Monetary Penalties

 

Case Number: 4:11er89-0012
Defendant’s Name: JARVIS, BRIAN

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

Count Assessment Fine Restitution

1 $100.00 $0.00 $0.00

$0.00 $0.00 $0.00

TOTALS: $100.00 $0.00 $0.00
FINES

No fines have been imposed in this case.
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Sheet 6 — Schedule of Payments

 

Case Number: 4:1 1er89-0012
Defendant’s Name: JARVIS, BRIAN

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
The special assessment shall be due in full immediately.

Any balance remaining unpaid on the special assessment at the inception of supervision, shall be paid by the defendant in
installments of not less than $50 per month, until paid in full. Said payments shall commence 60 days after defendant's
supervision begins.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment, All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Payments shall be applied in the following order: (1) assessment (2) restitution principal (3) restitution interest (4) fine
principal (5) fine interest (6) community restitution (7) penalties and (8) costs, including cost of prosecution and court
costs.
